                 IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF NORTH CAROLINA
                                 Asheville Division

UNITED STATES OF AMERICA                     )
                                             )
       v.                                    )       Criminal No. 1:07cr122
                                             )
BOBBY LEE MEDFORD                            )
GUY KENNETH PENLAND                          )

                                            ORDER

       For good cause,

       It is hereby ORDERED that the parties are DIRECTED to file their respective witness lists

by 12:00 p.m., Monday, April 28, 2008, so that the names of the prospective witnesses can be

included in the juror questionnaire.

       The Clerk is directed to send a copy of the Order to all counsel of record.




                                                                 /s/
                                                     _______________________
Alexandria, VA                                       T. S. Ellis, III
April 21, 2008                                       United States District Judge




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